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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


  UNITED STATES OF AMERICA                         §
                                                   §

  vs.                                              §      Criminal No. W-12-CR-050
                                                   §

  ADAM TENDEN RAY (1)                              §


               MOTION FOR REDUCTION OF SENTENCE OF IMPRISONMENT

       NOW COMES the Defendant, Adam Tenden Ray, by and through his attorney, Joe Rodriguez,
and moves this honorable court to reduce Defendant's sentence of imprisonment pursuant to 18 U.S.C. §
3582(c)(2) relief based on Amendment 782 to the Guidelines, which is to be applied retroactively
commonly known as “drugs minus 2” amendment to the United States Federal Sentencing Guidelines
and would show as follows:

         On May 31, 2012, Movant Ray pled guilty to Counts One (1) Possession with intent to distribute
methamphetamine, a schedule II controlled substance; Aiding and Abetting in violation of 21 USC 841(a)
(1) and 841(b)(1)(C);,18 USC 2; Count Two (2) Possession of a firearm during the commission of a drug
trafficking crime in violation of 18 USC 924(c)(1)(A)(i); and Count Three (3) Possession of a firearm by
a convicted felon in violation of 18 USC 922(g)(1) and 924(a)(2).

        On October 22, 2012, this Court sentenced Movant Ray to the custody of the Bureau of Prisons to
be imprisoned for a term of one hundred sixty-eight (168) months as to Count One (1), sixty (60) months
as to Count Two (2) to be served CONSECUTIVE to the terms imposed in Counts One (1) and Three (3)
and one hundred twenty (120) months as to Count Three (3) with the term imposed in Count Three (3) to
be served CONCURRENTLY with the term imposed in Count (1).

       In paragraph 31 of Movant's (Presentence Investigation Report) PSR his Base Offense Level was
34 based on a violation of 21 U.S.C. § 841(a) and 18 U.S.C. § 2 and the drug quantity table found in
USSG § 2D1.1 because 2.55 kilograms of methamphetamines were involved. Based on the amended
drug quantity table 2.55 kilograms is adjusted to an offense level of 32.

        Paragraph 36 of the PSR, the Adjusted Offense Level was therefore 34. A Three (3) point
adjustment was applied for Acceptance of Responsibility in paragraph 37. The Adjusted Offense Level
should be adjusted to 32 before applying the three (3) point adjustment for Acceptance of Responsibility
bringing the Total Offense Level to 29 (paragraph 39).
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        Paragraph 47 of Movant's PSR calculates the Criminal History Category of V based on 11 points.
Paragraph 87 of the PSR calculated the guideline range of imprisonment to 168 to 210 months as to
Counts One and Three based on a Total Offense Level of 31 and a Criminal History Category V. This
paragraph should be amended to reflect a Total Offense Level of 29 and a Criminal History Category V
with a calculated guideline range of 140-175 months as to Counts One.

        Previously, this Court applied the low end of the guidelines (recommended: 168-210) and
sentenced Movant to 168 months as to Counts One (1) and Three (3). Therefore the Court should
likewise apply the low end of the guideline range of 140 months as to Counts One (1).

        WHEREFORE, PREMISES CONSIDERED, Movant prays that this Court grant the relief
sought retroactively applying the 2 point reduction to Defendant's sentence of imprisonment pursuant to
18 U.S.C. § 3582(c)(2) relief based on Amendment 782 to the Guidelines, and reduce Movant's sentence
to 140 months as to Counts One (1).

                                                         Respectfully Submitted,
                                                         /s/ Joe Rodriguez____________
                                                         Joe Rodriguez
                                                         615 E. Main Street
                                                         Gatesville, TX 76528
                                                         State Bar No. 24053448
                                                         Attorney for Defendant, Adam Tenden Ray



                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was served by electronic mail, upon
Mark Frazier, Assistant United States Attorney, Office of the United States Attorney, 800 Franklin, #280,
Waco, Texas 76701 this 2nd day of July 2019.

                                                         /s/ Joe Rodriguez____________
                                                         Joe Rodriguez, SBN: 24053448
                                                         Attorney for Defendant
